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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District District
                                                     __________   of New ofMexico
                                                                            __________

                     In the Matter of the                                    )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. MR 22-1026
   6901 Georgetown Avenue NW, Albuquerque, New                               )
                  Mexico 87120                                               )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A (incorporated by reference).

located in the                                    District of               New Mexico                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B (incorporated by reference).


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ’
               ’ contraband, fruits of crime, or other items illegally possessed;
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. §2113                           Bank Robbery



          The application is based on these facts:
        Please see the attached affidavit.

           ✔ Continued on the attached sheet.
           ’
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                            Michael Lane Cordova, FBI Special Agent
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   Telephonically sworn and electronically signed     (specify reliable electronic means).


Date:      July 5, 2022
                                                                                                         Judge’s signature

City and state: Albuquerque, New Mexico                                                 Steven C. Yarbrough, U.S. Magistrate Judge
                                                                                                      Printed name and title
         Print                        Save As...                         Attach                                                          Reset
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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

IN THE MATTER OF THE SEARCH OF:

Residence at: 6901 Georgetown Avenue NW                       Case No. _________________
Albuquerque, New Mexico 87120

    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       1.       I, Michael Lane Cordova, Special Agent of the Federal Bureau of Investigation,

being duly sworn, depose and state:

                      INTRODUCTION AND AGENT BACKGROUND

       2.       I make this Affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the residence at 6901 Georgetown Avenue NW,

Albuquerque, New Mexico, 87120, hereinafter “SUBJECT PREMISES,” further described in

Attachment A, for the items described in Attachment B.

       3.       I am a Special Agent (“SA”) with the Federal Bureau of Investigation (“FBI”) and

have been so employed since June of 2021. As such, I am a federal law enforcement officer within

the meaning of Rule 41 of the Federal Rules of Criminal Procedure. I am assigned to the Violent

Crime Task Force (“VCTF”) at the Albuquerque Field Office of the FBI. I have received on the

job training from other experienced agents, detectives, and the Assistant United States Attorneys

in the investigations of gang related crimes, narcotics trafficking, firearms violations, carjackings,

Hobbs Act robberies, bank robberies, and homicides. My investigative training and experience

includes, but is not limited to, interviewing subjects, targets, and witnesses; writing affidavits for

and executing search and arrest warrants; managing cooperating sources; collecting evidence;

conducting surveillance; and analyzing public records. Moreover, I am a federal law enforcement

officer who is engaged in enforcing criminal laws, including 18 U.S.C. § 2113, Bank Robbery.



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       4.       The information set forth in this affidavit was derived from my own investigations

and/or communicated to be by other employees of the FBI, other law enforcement agencies, and

from records and documents that I, and others have reviewed. I have not included each and every

fact known to me concerning this investigation. I have set forth only the facts that I believe are

necessary to demonstrate probable cause for the issue of a search warrant.

                             SUMMARY OF PROBABLE CAUSE

       5.       On June 17, 2022, at approximately 12:15pm, a male subject entered the branch

Bank of the West located at 500 Dr. Martin Luther King Jr. Boulevard, Albuquerque, New Mexico

87102. Both bank security footage depicted and several witnesses described the subject as a white

or Hispanic male, approximately 6’0”-6’2” tall, who wore a black cloth on his head, light-colored

tank top, tan colored pants, carrying a green-colored bag and red-colored gas can. The subject

entered the bank through the southern door and asked where the nearest fuel station was. He then

approached the tellers and made a verbal demand for money. The tellers complied with the demand

for money and gave the subject approximately $956.00 in US currency and a GPS tracker. The

subject then departed the bank through the same door the subject entered.

       6.       SA Pete Ubbelohde of the FBI received a notification that a GPS tracker had been

activated from Bank of the West and was currently moving at high speeds away from this bank

location following various roads. The GPS tracker ultimately made it to southbound I-25, where it

was it was recovered along with several bait bills by SA Ubbelohde. Synchronizing the route

returned by the GPS tracker with time-stamped security cameras recovered by agents, the suspect

vehicle was identified as a dark sedan. The surveillance video depicted the sedan travelling east

on Coal Street and then erratically turning south on Locust Street SE.




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         7.       On June 22, 2022, at 11:01 a.m. Albuquerque Metro Crime Stoppers received an

anonymous tip that stated the tipster believed that the bank robbery that occurred on June 17, 2022

at the Bank of the West was committed by Randall BECKER (YOB 1978). Agents conducted

record checks of BECKER and found that his most recent driver’s license photo matched the

subject shown in Bank of the West security footage and the description given by witnesses of the

robbery that occurred at that location. Record checks also showed that BECKER was last known

to be residing at the SUBJECT PREMISES.

         8.       On July 5th, 2022, SA Cordova and FBI Task Force Officer Brittany Chacon

conducted surveillance outside of the SUBJECT PREMISES and identified a dark Audi sedan with

the license plate PTY965, similar to the vehicle seen by Agents on security cameras along the route

laid out by the GPS tracking device on the day of the robbery.

         9.       Bank of the West is insured by the Federal Deposit Insurance Corporation and it is

therefore a bank as defined under 18 USC § 2113. Bank of the West suffered a financial loss in

the aforementioned robbery.

                                EVIDENCE SOUGHT DURING SEARCH

   10.            In my training and experience working bank robbery investigations, I am aware

         that:

         a.       Bank robbers often conceal their clothing, robbery notes, disguises, tools and other

                  implements, and the proceeds of their robberies, in their residence.

         b.       Further, people also frequently leave items of clothing, bags, and other carrying

                  devices in the vehicles that they use.

         c.       Bank robbers can attempt to legitimize the proceeds from their criminal activity.

                  They can accomplish this by using services of foreign and domestic banks and



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              various financial institutions, and real estate brokers. Books and papers relating to

              such efforts, including but not limited to, cashier checks, money orders, telegrams,

              letters of credit and ledgers, are maintained at property of those involved in criminal

              activity. It is also common for bank robbers to deposit some or all of the proceeds

              into foreign or domestic bank accounts for savings and to enable payments by

              check, debit, or credit cards.

11.           From my training and experience, I know that criminals frequently use devices to

      communicate, including to coordinate and promote criminal acts. These communications

      can be in the form of calls, text messages or messaging applications built into the social

      media platforms including photographs, or videos. These communications can be used to

      make logistical arrangements for a criminal act, such as arranging transportation, or

      disposing of evidence. Device applications may also record the actual physical locations

      of criminals while planning, rehearsing, or committing crimes. Criminals may also

      preserve photographs, video, or audio of criminal acts. From my training and experience I

      know that criminals frequently leave evidence in the vehicles that they use such as receipts

      from hotels/motels, gas stations, convenience stores, and food restaurants. Criminals also

      frequently leave items of clothing, bags, and other carrying devices in the vehicles that they

      use.

             COMPUTERS, ELECTRONIC STORAGE AND FORENSIC ANALYSIS

12. As described above and in Attachment B, this application seeks permission to search for

      evidence and records that might be found on the SUBJECT PREMISES, in whatever form

      they are found. Much of the evidence and records described in the paragraphs above, and

      in Attachment B, can also be produced and/or stored on cellphones, digital media and other



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       storage media. For this reason, I submit that if a cellphone is found on the SUBJECT

       PREMISES, there is probable cause to believe those records will be stored on that

       cellphone. Thus, the warrant applied for would authorize the seizure of electronic storage

       media or, potentially, the copying of electronically stored information, all under Rule

       41(e)(2)(B).

1.     Necessity of seizing or copying entire computers or storage media. In most cases, a

thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of data either from accidental or intentional

destruction. This is true because of the following:

           A. The time required for an examination. As noted above, not all evidence takes the

               form of documents and files that can be easily viewed on site. Analyzing

               evidence of how a computer has been used, what it has been used for, and who

               has used it requires considerable time, and taking that much time on premises

               could be unreasonable. Storage media can store a large volume of information.

               Reviewing that information for things described in the warrant can take weeks or

               months, depending on the volume of the data stored, and would be impractical

               and invasive to attempt on-site.

           B. Technical requirements. Computers can be configured in several different ways,



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                featuring a variety of different operating systems, application software, and

                configurations. Therefore, searching them sometimes requires tools or knowledge

                that might not be present on the search site. The vast array of computer hardware

                and software available makes it difficult to know before a search what tools or

                knowledge will be required to analyze the system and its data on the premises.

                However, taking the storage media off-site and reviewing it in a controlled

                environment will allow its examination with the proper tools and knowledge.

             C. Variety of forms of electronic media. Records sought under this warrant could be

                stored in a variety of storage media formats that may require off-side reviewing

                with specialized forensic tools.

   13. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the

       warrant I am applying for would permit seizing, imaging, or otherwise copying

       computers and/or storage media that reasonably appear to contain some or all of the

       evidence described in the warrant and would authorize a later review of the media or

       information consistent with the warrant. The later review may require techniques,

       including but not limited to computer-assisted scans of the computer or entire medium,

       that might expose many parts of a hard drive to human inspection in order to determine

       whether it is evidence described by the warrant.

                                            CONCLUSION

       14.      Based on the forgoing, there is probable cause to believe that a search of the

SUBJECT PREMISES will provide fruit and evidence of 18 U.S.C. § 2113, that being Bank

Robbery, more fully described in Attachment B of this Affidavit. Therefore, I respectfully request




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this Court issue a search warrant authorizing the search and seizure of the items described in

Attachment B.

       15.      I swear that this information is true and correct to the best of my knowledge,

information, and belief.

       16.      This Affidavit was reviewed and approved by Supervisory Assistant United States

Attorney Jack Burkhead.

                                                   Respectfully submitted,



                                                   ___________________________________
                                                   Michael Lane Cordova
                                                   FBI Special Agent


Subscribed and sworn to telephonically and submitted electronically on July 05, 2022:




___________________________________
United States Magistrate Judge




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                                ATTACHMENT A

                           PLACE TO BE SEARCHED:

6901 Georgetown Avenue NW
Albuquerque, New Mexico 87120




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                                       ATTACHMENT B

                                    ITEMS TO BE SEIZED:

Particular Property to Be Seized: The following material, which constitutes evidence of the
commission of a criminal offense, namely a violation of 18 U.S.C. § 2113, that being Bank
Robbery:
 1. Any Bank of the West property to include United States currency and money bands.

2. Electronic devices, to include cellular phones.

3. Documents, including paper, notepads, or notecards, associated with planning or execution of
any bank robbery.

4. Any clothing consistent with the style and type worn by the including but not limited to dark-
colored skull cap, white tank-top shirt, tan-colored pants, and a green-colored bag.

5. Maps or items depicting the locations of driving and escape routes in relationship to the bank
robberies.

6. Photographs of any bank branches.

7. Any writing or written recordings or communications regarding the bank robbery, planning for
that bank robberies, and or the use, disposition, and or concealment of the proceeds from the bank
robbery.

8. Records, receipts, bank statements and records, money drafts, letters of credit, money orders
and cashier’s checks received, passbooks, bank checks, safe deposit box keys, vault keys, safes
and other items evidencing the obtaining, secreting and/or concealment, and or expenditures of
money.

9. Any information regarding Randall Becker’s whereabouts on June 17, 2022, between 11 a.m.
and 2 p.m.




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